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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

      Student DOE #1, Student DOE #2, Student DOE
      #3, Student DOE #4, Student DOE #5, and
      Student DOE #6,
                        Plaintiffs,                         Civ. No. 25-cv-2998 (KSH) (AME)
            v.

      Kristi NOEM, in her official capacity as Secretary
      of the United States Department of Homeland
      Security, Todd LYONS, Acting Director, U.S.
      Immigration and Customs Enforcement, Ricky J.
      PATEL, in his official capacity as Newark
      Special Agent in Charge, Homeland Security            PRELIMINARY INJUNCTION
      Investigations, U.S. Immigration and Customs                  ORDER
      Enforcement, and John TSOUKARIS, in his
      official capacity as Newark Field Officer
      Director, Enforcement and Removal Operation,
      U.S. Immigration and Customs Enforcement,

                           Defendants.


  Katharine S. Hayden, U.S.D.J.

  I.        Introduction

            Plaintiffs, named as Student Does #1 through #6 (“Plaintiffs”), are five Rutgers

  University students and one recent graduate. All are citizens of China or India and up to the

  events challenged in this action, they maintained F-1 student status allowing them to study in the

  United States and had active records in the Student Exchange and Visitor Information System

  (“SEVIS”). 1 On April 22, 2025, they filed a four-count complaint against the above-named


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   SEVIS is a “web-based system for maintaining information on nonimmigrant students and
  exchange visitors in the United States,” and “is used to monitor and manage information
  pertaining to nonimmigrant students in F-1, J-1, or M-1 visa status and their dependents.” (D.E.
  29, Declaration of Elizabeth Goss, Esq. (“Goss Decl.”) ¶¶ 3, 6.) “F-1 student status” is a
  nonimmigrant classification that requires compliance with certain regulatory requirements. See 8
  C.F.R. §§ 214.1, 214.2. It is separate from the F-1 visa that authorizes admission to the United

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  Defendants (“Defendants”) asserting, in pertinent part, that Defendants had terminated their

  SEVIS records and their F-1 student status as a consequence, in violation of the Administrative

  Procedure Act (“APA”), 5 U.S.C. § 701 et seq., and the Due Process Clause of the Fifth

  Amendment to the United States Constitution. (D.E. 1, Compl.)

         The same day, Plaintiffs moved for a temporary restraining order that would direct

  Defendants to (1) restore and set aside the termination of their SEVIS records and status, and (2)

  enjoin Defendants from enforcing, implementing, or otherwise imposing legal consequences as a

  result of their decision to terminate Plaintiffs’ SEVIS records or F-1 status, including arresting,

  detaining, or removing Plaintiffs from this Court’s jurisdiction without at least 30 days’ notice to

  Plaintiffs, their counsel, and the Court.

         Plaintiffs supported their filing with a brief (D.E. 2-1, Br. for TRO), declaration of

  counsel with exhibits, declarations from Plaintiffs themselves, and a declaration of the vice

  president for Global Affairs at Rutgers University, who supplied background about how Rutgers

  uses and accesses SEVIS records and explained the series of changes to Plaintiffs’ SEVIS

  records that preceded this lawsuit. (D.E. 2 to 2-4; D.E. 3 to 3-5.) Plaintiffs argued for interim

  restraints based on their likelihood of success on the merits of their claims in counts 1 and 2 of

  their complaint, asserting that Defendants’ actions violated the APA and the Due Process Clause

  and had caused and would continue to cause them irreparable harm absent relief, and that

  injunctive relief was warranted based both on the balance of equities and the public interest.

         The following day, April 23, 2025, the Court issued an order setting a briefing schedule

  on Plaintiffs’ motion and, to preserve its jurisdiction, enjoining Defendants from “transferring



  States upon arrival at a port of entry. (D.E. 29, Goss Decl. ¶ 8.) And further, the Student and
  Exchange Visitor Program (“SEVP”) “administers the F-1 student program and tracks
  information on students in F-1 student status through SEVIS.” (D.E. 1, Compl. ¶ 36.)
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  Plaintiffs out of this Court’s jurisdiction, or taking them into custody, or arresting or detaining

  them” pending further Court order. (D.E. 10.) On April 24, Defendants filed their opposition

  arguing that none of the four factors for injunctive relief had been shown.

          Amid the briefing, on Friday, April 25, Plaintiffs filed a letter (D.E. 14) advising the

  Court of two developments: first, three of the six Plaintiffs had their SEVIS records reactivated,

  albeit without explanation and with the prior termination still appearing in the record. Second,

  the letter cited reporting elsewhere that Immigration and Customs Enforcement (“ICE”) “is

  developing a policy that will provide a framework for SEVIS record terminations” and that ICE

  would reactivate certain Plaintiffs’ records “[u]ntil such a policy is issued.” (Id.) Plaintiffs took

  the position that their case remained live and that relief was still necessary; accordingly, they

  filed their reply a short time later.

          The Court then scheduled a status/scheduling conference for April 28, which was

  continued on April 29, when the parties could not reach agreement on the scope of preliminary

  restraints. On April 28, counsel advised the Court that all six Plaintiffs’ SEVIS records had been

  restored by that point. Plaintiffs maintained, however, that notations remained in those records

  that continued to inflict harm on them. Both sides acknowledged that an updated policy they

  anticipated Defendants would be developing with respect to SEVIS terminations may change the

  lawsuit in ways that the parties would need to account for in their submissions.

          By the time of the April 29 continued conference, Plaintiffs had submitted a proposed

  order that would modify the parameters of the injunctive relief they were seeking. Defendants

  did not consent to any relief being granted. Plaintiffs’ proposal, which was docketed at D.E. 23,

  sought an order: (1) continuing the restraints previously entered, namely that “pending further

  order of the Court, Defendants are enjoined from transferring Plaintiffs out of this Court’s



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  jurisdiction, or taking them into custody, or arresting or detaining them”; (2) requiring

  Defendants to immediately (within 72 hours), restore Plaintiffs’ SEVIS records “to the status quo

  ante striking all text within SEVIS that refers that refers to the erroneous termination of

  Plaintiffs’ records”; (3) enjoining Defendants, pending further order of the Court, from “directly

  or indirectly enforc[ing], implement[ing], or otherwise impos[ing] any consequences arising out

  of any decision by Defendants to terminate Plaintiffs’ SEVIS records or F-1 status, without at

  least 30 days’ written notice to the Court and to the Plaintiffs and their counsel”; (4) specifying

  that “Defendants shall retain the authority to terminate SEVIS records for other lawful reasons,

  such as if Plaintiffs fail to maintain their nonimmigrant status after their record is reactivated or

  engages in such unlawful activity as would render them removable from the United States under

  the Immigration and Naturalization Act, provided however, that pending further order of the

  Court, Defendants shall not terminate Plaintiffs’ SEVIS records, F-1 status, or F-1 visas, without

  providing at least 30 days’ notice to the Plaintiffs and their counsel so that they may make any

  appropriate application to the Court”; (5) granting Plaintiffs leave to amend their complaint

  within 14 days of receiving notice “If and when Defendants develop a ‘policy for SEVIS

  termination’”; and (6) specifying a briefing schedule.

         After hearing the parties’ positions, and to continue to preserve its ability to hear this case

  on the merits while the parties considered their next steps amid a changing factual landscape, the

  Court temporarily granted Plaintiffs’ proposed relief with the exception of the paragraph that

  would direct Defendants to strike text from Plaintiffs’ SEVIS records. (D.E. 25.) The Court also

  set down a hearing on Plaintiffs’ motion for May 7, and directed the parties’ supplemental briefs

  to be filed by May 5, 2025, at 9:00 a.m., which was done.




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         Plaintiffs’ papers included their supplemental brief (D.E. 28), supplemental declarations

  from each plaintiff (D.E. 30 through D.E. 30-5), a declaration from Elizabeth Goss, Esq., an

  immigration attorney whose career also included time as a university Designated School

  Official/Responsible Officer and as a member of a software company that developed a program

  to interface with the SEVP (D.E. 29), and a second declaration of counsel with exhibits (D.E.

  31).

         The Goss Declaration explained that schools certified by the government to enroll

  international students are required to designate school officials to manage and update records for

  students in nonimmigrant status, and that only the Principal Designated School Official

  (“PDSO”) and any Designated School Officials (“DSOs”) are given access to the SEVIS

  database. (D.E. 29, Goss Decl. ¶¶ 2, 6.) The declaration further described the multiple steps a

  student must take before and upon arriving in the United States as an F-1 nonimmigrant student,

  which process involves “multiple U.S. departmental and agency touchpoints – ICE, USCIS,

  CBP, and DOS – [that] one is likely to encounter when seeking nonimmigrant student status in

  the United States.” (Id. ¶ 10.) Goss provided background on the requirements for F-1 status; the

  typical sequence of events when a question about maintenance of status arises and consequences

  of failing to maintain status; and how the recent developments involving Plaintiffs’ SEVIS

  record terminations followed an unprecedented and atypical course. (See generally id.)

         In their brief, Plaintiffs argued that the factors for injunctive relief remained satisfied, and

  that the SEVIS record updates to that point had not returned them to the position they held prior

  to Defendants’ assertedly unlawful actions. The interim relief sought was the continuation of the

  terms of the April 29 order plus an additional term requiring Defendants to, within 72 hours,

  restore Plaintiffs’ SEVIS records to how they appeared before the termination, that is, striking all



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  text and data within SEVIS and in systems populated with data from it that refer to the prior

  termination of Plaintiffs’ SEVIS records or F-1 status.

         Defendants’ supplemental brief (D.E. 27) argues that the Court should “dissolve the

  existing TRO” and “decline to impose any further injunctive relief, including a preliminary

  injunction” and “permit this case to proceed to the processes set forth in [Fed. R. Civ. P. 12].”

  Defendants take the position that Plaintiffs had already obtained relief “without a judicial order

  because ICE reactivated [their] SEVIS accounts” and that the remaining issues – including the

  current contents of Plaintiffs’ SEVIS records and the effect of the period between termination

  and reactivation – could proceed on a non-emergent, ordinary-course litigation timetable. (Id. at

  1.) Defendants continue to argue that Plaintiffs’ claimed harms are speculative, not irreparable,

  and in some instances not cognizable as part of a request for injunctive relief; that neither of the

  claims on which Plaintiffs base their injunction request are likely to succeed; as to the APA

  claim specifically, they assert that it is barred by sovereign immunity; and that the balance of

  equities and public interests favor denying relief.

         Later, Defendants filed a “Notice” “apprising the Court of a development that may

  impact the claims in this suit,” namely that “As of April 26, 2025, [ICE] has promulgated a new

  policy concerning the termination of records in [SEVIS],” and attaching a copy of the “new

  policy.” (D.E. 32.)

         On May 6, 2025, the day before the hearing, Defendants filed another notice (D.E. 35)

  about a “development that may impact the claims in this suit,” attaching a declaration from

  James Hicks, the Division Chief of External Operations at SEVP within Homeland Security

  Investigations (“HSI”) at ICE. After setting forth his credentials, Hicks stated the following:

         3. For each plaintiff(s) in this case, SEVP has set their SEVIS record back to
         “active.” When the record was set to “active,” all previous information that was

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         part of the SEVIS record is restored, and there are no “gaps” or “lapses” in the
         SEVIS record. However, due to technical limitations of the SEVIS system, the
         event history for a given record cannot be deleted from the system.

         4. When specifically annotated on a court’s order, SEVP adds a notation into
         SEVIS record, indicating that the record has been restored retroactively to the
         original date of the termination. Because of the technical limitations of the
         SEVIS system, these notations are not viewable by end-users outside of SEVP,
         such as Designated School Officials. Nonetheless, these notations are still part of
         the official SEVIS record.

  (D.E. 35, Declaration of James Hicks (“Hicks Decl.”) ¶¶ 3-4.)

         At the May 7, 2025 hearing, Defendants offered the declaration of Andre Watson, who

  describes himself as the Senior Official within and Assistant Director of the National Security

  Division for HSI. Pertinent to the issues before this Court, Watson stated:

         4. Beginning in March of 2025, ICE reviewed and terminated numerous SEVIS
         records due to information provided by U.S. Department of State and criminal
         databases.

         5. ICE has re-activated SEVIS records for plaintiff(s) who met the parameters
         above.

         6. ICE has no plans under its new SEVIS policy to re-terminate the plaintiff(s)
         SEVIS record based solely on the NCIC record that led to its initial termination.

         7. ICE’s reactivation of the plaintiff(s) SEVIS record is being made retroactive to
         the date of its initial termination such that there is no gap in the plaintiff(s)’
         SEVIS record.

         8. For plaintiff(s) who were or are currently engaged in Optional Practical
         Training (OPT) where SEVP also edited the SEVIS record to change the OPT
         employment authorization end date, the record had been reset to the end date set
         forth in the alien’s SEVIS record before its termination.

  (D.E. 38, at 3-4, Declaration of Andre Watson (“Watson Decl.”) ¶¶ 4-8.) Defendants argued that

  this additional declaration further supported their position that no injunctive relief is warranted

  because Plaintiffs had, by virtue of Defendants’ voluntary actions subsequent to the terminations,

  gotten the relief they needed, and that the remainder of the case could proceed on an ordinary



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  schedule. Plaintiffs countered that the harm caused by Defendants’ prior actions was continuing

  notwithstanding these developments, and the need for a preliminary injunction remained live.

          Today, Defendants filed a declaration of Michelle Young, who is employed by U.S.

  Citizenship and Immigration Services (“USCIS”) as an Associate Portfolio Director with the

  Service Center Operations Student, Appeals, Family & Employment Portfolio. (D.E. 38, at 6-7,

  Declaration of Michelle Young (“Young Decl.”) ¶ 2.) Young described her responsibilities as

  “overseeing the processing and adjudication of immigration benefit applications, petitions, and

  requests related to nonimmigrant students, families, appeals and employment authorization.”

  (Id.)

          Young’s declaration is not specific to Plaintiffs’ circumstances; instead, it speaks to what

  Young’s agency, USCIS, generally does in certain scenarios. Relevant here, Young states that

  USCIS “conducts security checks on individuals applying for immigration benefits” which can

  include a request to change “to a different nonimmigrant status, a request for Optional Practical

  Training (“OPT”), or reinstatement after a failure to maintain F-1 nonimmigrant status,” and that

  those security checks include review of SEVIS records. (Id. ¶ 5.) If in the process of

  adjudicating an immigration benefit request,

          USCIS finds that an F-1 nonimmigrant’s SEVIS record was terminated and then
          reactivated by ICE, USCIS would continue processing the benefit request
          according to all applicable laws, regulations, policies, and procedures. The SEVIS
          record termination and reactivation would not, per se, have a negative impact on
          the benefit request’s adjudication.

  (Id. ¶ 11.) Young’s declaration also suggests that an F-1 student only “begin[s] to accrue

  unlawful presence” after adjudication and findings by USCIS or an immigration judge

  that the student failed to maintain status. (Id. ¶¶ 9-10.)




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  II.    Factual Background
         As noted earlier, Plaintiffs are citizens of China or India currently in the United States on

  F-1 student visas. Five are currently pursuing master’s or PhD degrees at Rutgers University

  (“Rutgers”). (D.E. 2-1, Br. for TRO, at 1, 13; see D.E. 3-1 (“Doe #2 Decl.”) ¶¶ 5-6; D.E. 3-2

  (“Doe #3 Decl.”) ¶¶ 4-7; D.E. 3-3 (“Doe #4 Decl.”) ¶¶ 4-6; D.E. 3-4 (“Doe #5 Decl.”) ¶¶ 4-5;

  D.E. 3-5 (“Doe #6 Decl.”) ¶¶ 1, 7, 9-10.) Student Doe #1 recently graduated from Rutgers but

  was working through post-completion OPT as a software developer and business analyst. (Br.

  for TRO, at 13; D.E. 3 (“Doe #1 Decl.”) ¶¶ 1, 8-9.)

         In early April 2025, Plaintiffs received emails from Rutgers informing them that their

  SEVIS records were terminated or that their F-1 visas were revoked. (Br. for TRO, at 13-14.)

  On April 3 and 5, Student Does #1, #2, #3, and #6 were told by Rutgers that their records were

  terminated for “OTHERWISE FAILING TO MAINTAIN STATUS – Individual identified in

  criminal records check and/or has had their VISA revoked. SEVIS record has been terminated.”

  (Id.; Doe #1 Decl. ¶ 12; Doe #2 Decl. ¶ 9; Doe #3 Decl. ¶ 10; Doe #6 Decl. ¶¶ 14-15.)

         Student Does #4 and #5 were notified on April 8 by Rutgers that their SEVIS records

  were terminated for “OTHER – Individual identified in criminal records check and/or has had

  their VISA revoked. SEVIS record has been terminated.” (Doe #4 Decl. ¶¶ 9-10; Doe #5 Decl.

  ¶ 8.) Only Student Doe #1 was provided further information from ICE regarding their record

  termination, notifying them that their “OPT authorization period had ended,” and that their

  SEVP portal account “will close on October 5, 2025, with the account becoming read-only on

  April 19, 2025.” (Br. for TRO, at 14; Doe #1 Decl. ¶ 2.)

         Copies of Plaintiffs’ SEVIS records are attached to their supplemental submission. (D.E.

  31, Second Declaration of Molly K.C. Linhorst (“Second Lindhorst Decl.”), ¶ 2(A) & Ex. A.)

  These exhibits anchor Plaintiffs’ explanations about how the terminations appear in those

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 records. Taking the second record as an illustration, each line reflects a different change to one

 or more fields. Certain lines are expandable, and when expanded show additional information.

 Under the “Terminate – User Termination” entry dated April 4, 2025, the expanded fields

 include “Field Changed,” “Old Value,” and “New Value.” The “New Value” contains the

 language Plaintiffs contest. An excerpt of this SEVIS record is below:




 (D.E. 31, Second Lindhorst Decl., Ex. A, at page 12 of 200.) 2 All six records include the same

 language in the “Explanation” field. The first record contains additional text in a “Remarks”

 field; that text is replaced with the data populated in the “New Value” fields:




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     This pagination refers to the numbers assigned by the CM/ECF system.
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 (D.E. 31, Second Lindhorst Decl., Ex. A, at pages 6-7 of 200.)

        Because Plaintiffs have not received notice that their F-1 student visas have been

 revoked, 3 they deduced that their SEVIS record terminations were initiated based on a criminal

 records check, which the record developed on this motion has borne out. Plaintiffs summarize

 the events that brought them to the attention of the criminal justice system as follows:

            •   Student Doe #1 pled guilty in September 2024 to a municipal ordinance violation.
                (Doe #1 Decl. ¶ 10.)

            •   Student Doe #2 received a court summons in 2022 for an issue with their car
                insurance. (Doe #2 Decl. ¶ 7.) The student entered the pre-trial intervention
                program, leading to the charge being dismissed and the case being expunged.
                (Id.)


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   Plaintiffs have consistently drawn a line between F-1 student status and their SEVIS records,
 the termination of which is the subject of their complaint and request for injunctive relief, and
 their F-1 visas, which are not.
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            •   Student Doe #3 received a violation in 2015 for Elizabeth City Ordinance
                9.20.020, which prohibits loitering, a non-criminal violation. (Doe #3 Decl. ¶ 9.)
                The student also admitted to some parking and driving violations. (Id.)

            •   Student Doe #4 was “falsely charged” in 2020 with simple assault. (Doe #4 Decl.
                ¶ 8.) The student maintains that the charge was dismissed, the case was
                expunged, and that they have no criminal convictions. (Id.)

            •   Student Doe #5 received a violation of N.J.S.A. 39:3-29a for failure to possess a
                driver’s license that they are currently resolving before the municipal court. (Doe
                #5 Decl. ¶ 7.) The student also admits to “a dismissed and expunged criminal
                matter,” but that they have “no criminal convictions.” (Id.)

            •   Student Doe #6 received parking and driving violations in the United States, “as
                well as a dismissed case.” (Doe #6 Decl. ¶ 8.) The student maintains they have
                no criminal convictions. (Id.)

        After Student Doe #1’s SEVIS status was terminated, their employer fired them. (Doe #1

 Decl. ¶ 17.) The other Plaintiffs were not able to continue research for their degrees because of

 the SEVIS record termination. (Br. for TRO, at 15.) Further, Student Doe #4’s research

 assistant position was terminated, along with their annual stipend of $40,000, due to their SEVIS

 record termination. (Doe #4 Decl. ¶ 13.)

        Plaintiffs submit that their “education and career trajectories, financial well-being, and

 mental health” have been threatened as a result. (Br. for TRO, at 15.) They cite present and

 ongoing severe impacts on their mental health. (Id.) They express concern that they will run out

 of money due to their sudden loss of employment (Doe #1 Decl. ¶ 17; Doe #4 Decl. ¶ 13); that

 they will lose progress on, or be unable to complete, their master’s and PhD degrees (Doe #2

 Decl. ¶ 14; Doe #3 Decl. ¶¶ 11-15; Doe #4 Decl. ¶ 13; Doe #5 Decl. ¶ 10; Doe #6 Decl. ¶ 18);

 and that their changed status will result in deportation (Doe #2 Decl. ¶ 15; Doe #4 Decl. ¶ 15;

 Doe #5 Decl. ¶ 11). Highlighting recent news stories about ICE “picking up students on the

 street and deporting them,” Plaintiffs express that they are afraid to go outside “out of fear that

 [they] will be detained.” (Doe #4 Decl. ¶ 15; Doe #6 Decl. ¶ 19.)

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           Plaintiffs maintain that the negative consequences they described in their initial

 submissions continue to impact them even after the reactivation of their SEVIS records because

 those records still contain notations about termination and criminal records. They cite ongoing

 harm to their reputations, academic and career prospects, and earning potential; constraints on

 their freedom to travel abroad to visit their families and increased risk they will be unable to

 reenter the United States after any international travel; a heightened risk of re-termination of

 SEVIS records and F-1 status, and of being targeted for detention and removal; a risk of future

 immigration harm due to the gap in their SEVIS records, including not being able to change to

 another immigration status; interference with their ability to participate in OPT or to extend their

 OPT work period; ongoing violations of their due process rights; and ongoing stress and anxiety

 arising from the notations in their SEVIS records. (D.E. 28, Pl. Supp. Br., at 6-12; D.E. 30 to

 D.E. 30-5, Second Declarations of Does #1, 2, 3, 4, 5, and 6.)

    III.       Standard of Review

           Rule 65 of the Federal Rules of Civil Procedure governs the issuance of TROs and

 preliminary injunctions. A preliminary injunction may only be issued on notice to the adverse

 party, while TROs may be issued without notice, so long as other procedural safeguards are

 followed. Fed. R. Civ. P. 65(a)(1), (b). Substantively, the legal standards are the same, and as

 the parties agreed on the record at the May 7 hearing, this case is now in a procedural posture

 where the question of a preliminary injunction, rather than a TRO, is before the Court. To be

 granted that relief, Plaintiffs must demonstrate:

           (1) a reasonable probability of eventual success in the litigation, and (2) that
           [they] will be irreparably injured . . . if relief is not granted. . . . [In addition,] the
           district court, in considering whether to grant a preliminary injunction, should
           take into account, when they are relevant, (3) the possibility of harm to other
           interested persons from the grant or denial of the injunction, and (4) the public
           interest.

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 Reilly v. City of Harrisburg, 858 F.3d 173, 176 (3d Cir. 2017) (citing Del. River Port Auth. v.

 Transamerican Trailer Transp., Inc., 501 F.2d 917, 919-20 (3d Cir. 1974) (citations omitted));

 see also Durel B. v. Decker, 455 F. Supp. 3d 99, 106 (D.N.J. 2020) (McNulty, J.) (as to

 temporary restraining order).

         The first two factors are considered the “gateway factors” and are the “most critical” to

 the analysis. Reilly, 858 F.3d at 179. A likelihood of success on the merits “means only a

 ‘reasonable probability’ of success—odds that are ‘significantly better than negligible but not

 necessarily more likely than not.’” Veterans Guardian VA Claim Consulting LLC v. Platkin, 133

 F.4th 213, 218 (3d Cir. 2025) (quoting Reilly, 858 F.3d at 179). And the standard for irreparable

 harm requires a showing of more likely than not. Id. (citing Reilly, 858 F.3d at 179). “If these

 gateway factors are met, a court then considers the remaining two factors and determines in its

 sound discretion if all four factors, taken together, balance in favor of granting the requested

 preliminary relief.” Reilly, 858 F.3d at 179. Where, as here, the government is the opposing

 party, the last two factors merge for purposes of the Court’s analysis. See Nken v. Holder, 556

 U.S. 418, 435 (2009).

         Informing these factors is the general understanding that interim injunctive relief is an

 “extraordinary remedy” that serves a specific, narrow purpose; it is warranted only to “preserve

 the relative positions of the parties until a trial on the merits can be held.” Del. State

 Sportsmen’s Ass’n, Inc. v. Del. Dep’t of Safety & Homeland Sec., 108 F.4th 194, 200 (3d Cir.

 2024). To be afforded this relief, it must be the case that “the plaintiff’s right is clear, his

 impending injury is great, and only an injunction can avert that injury.” Id. (citations omitted).




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 IV.    Discussion

        A. Whether Plaintiffs are Likely to Succeed on the Merits of their Claims

        To grant the requested relief, the Court must be able to conclude that Plaintiffs are likely

 to succeed on at least one of their claims. Pa. Pro. Liab. Joint Underwriting Ass’n v. Wolf, 328

 F. Supp. 3d 400, 410 n.2 (M.D. Pa. 2018). For the reasons below, the Court concludes that

 Plaintiffs are likely to succeed on their claim that Defendants’ terminations of their SEVIS

 records violated the APA.

        1. What the APA Requires of Federal Agencies

        The APA “sets forth the procedures by which federal agencies are accountable to the

 public and their actions subject to review by the courts.” Dep’t of Homeland Sec. v. Regents of

 Univ. of Cal., 591 U.S. 1, 16 (2020) (internal quotation marks and citation omitted). “It requires

 agencies to engage in reasoned decisionmaking and directs that agency actions be set aside if

 they are arbitrary or capricious.” Id. (cleaned up).

        Under 5 U.S.C. § 706, a court reviewing an agency action “shall . . . hold unlawful and

 set aside [any] agency action, findings, and conclusions found to be . . . arbitrary, capricious, an

 abuse of discretion, or otherwise not in accordance with law,” or that are “in excess of statutory

 jurisdiction, authority, or limitations, or short of statutory right,” or “without observance of

 procedure required by law.” Id. § 706(2)(A), (C), (D). Whether an action was arbitrary and

 capricious or an abuse of discretion looks to “the decisionmaker’s process in arriving at a

 particular outcome, asking whether [the decisionmaker] considered the appropriate factors and

 properly justified [the] decision.” Wilkinson v. Attorney General, 131 F.4th 134, 140 (3d Cir.




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 2025). 4 Agencies are also bound by their own regulations. Leslie v. Attorney General of U.S.,

 611 F.3d 171, 175-76 (3d Cir. 2010) (citing Accardi v. Shaughnessy, 347 U.S. 260 (1954)); De

 Jesus Martinez v. Nielsen, 341 F. Supp. 3d 400, 409 (D.N.J. 2018) (Arleo, J.) (“A government

 agency is not free to disregard its own regulations.”).

        2. How SEVIS Status Permissibly May Be Terminated

        SEVIS termination may occur in two scenarios: (1) a student fails to maintain status or

 (2) the Department of Homeland Security (“DHS”) terminates status. See 8 C.F.R. §§ 214.2(f),

 214.1(d); see also Patel v. Bondi, No. 25-101, 2025 WL 1134875, at *2 (W.D. Pa. Apr. 17,

 2025); Isserdasani v. Noem, No. 25-283, 2025 WL 1118626, at *1 (W.D. Wis. Apr. 15, 2025).

        As to the first category, a student fails to maintain status when they fall out of compliance

 with F-1 status requirements by, for example, not maintaining a full course of study. See 8

 C.F.R. § 214.2(f) (listing requirements for F-1 status). Students are also prohibited from

 engaging in particular conduct, including accepting unauthorized employment, providing false

 information to DHS, or engaging in criminal activity. See id. § 214.1(e)-(g).

        Criminal activity is defined to include instances where a student is “convict[ed] . . . for a

 crime of violence for which a sentence of more than one year imprisonment may be imposed

 (regardless of whether such sentence is in fact imposed).” Id. § 214.1(g). Courts have found that

 a “conviction” for a crime of violence is necessary to constitute “criminal activity” under the

 regulations, as opposed to a “charge” for a crime of violence. See Isserdasani, 2025 WL

 1118626, at *4 (holding that, even if plaintiff’s misdemeanor offense qualified as a crime of



 4
   Only “final agency actions are reviewable under the APA,” 5 U.S.C. § 704, and the Third
 Circuit has held that the termination of F-1 student status is a final agency action that this Court
 has jurisdiction to review. Jie Fang v. Dir. U.S. Immigr. & Customs Enf’t, 935 F.3d 172, 182
 (3d Cir. 2019). Although Defendants have expressed their disagreement with Jie Fang in the
 briefing, they have done so only to “preserve the issue.” (D.E. 27, Gov’t Supp. Br., at 20 n.3.)
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 violence, the charge was not ultimately pursued and plaintiff was never convicted); Student Doe

 #1 v. Trump, No. 2:25-cv-2825, D.E. 13 (D.N.J. Apr. 18, 2025) (Arleo, J.) (finding plaintiff’s

 charge of simple assault did not constitute a conviction for purposes of the regulations).

        As to the second category, termination of SEVIS status can occur (1) “by revoking a

 waiver that the Attorney General had previously authorized under [Immigration and Nationality

 Act] § 212(d)(3) or (4),” (2) “by the introduction of a private bill to confer permanent resident

 status,” or (3) “pursuant to notification in the Federal Register, on the basis of national security,

 diplomatic, or public safety reasons.” See Jie Fang, 935 F.3d at 176 (quoting 8 C.F.R.

 § 214.1(d)).

        3. What Defendants Did Here

        There is no dispute over the central series of events here, laid out in greater detail supra

 and summarized again now: Plaintiffs were in-status as F-1 students, with active SEVIS records.

 Over several days in early April, each Plaintiff was informed that their SEVIS record had been

 terminated. As explained above, four Plaintiffs were told by their school that their records were

 terminated for “OTHERWISE FAILING TO MAINTAIN STATUS – Individual identified in

 criminal records check and/or has had their VISA revoked.” The other two were told by their

 school that their records were terminated for “OTHER – Individual identified in criminal records

 check and/or has had their VISA revoked. SEVIS record has been terminated.” Only one

 Plaintiff got more information, this time from ICE: that their “OPT authorization period had

 ended,” that their SEVP portal account “will close on October 5, 2025, with the account

 becoming read-only on April 19, 2025.”

        After this lawsuit was filed, and amid the briefing on Plaintiffs’ TRO motion, Defendants

 notified Plaintiffs that their SEVIS records had been restored or reactivated. The reasons were



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 not supplied. Also, the prospect of a revised or different policy for Defendants’ approach to

 SEVIS record terminations was raised, and later, Defendants’ May 5 “Notice” attached a

 “Broadcast Message” dated Saturday, April 26, 2025 asserting that the Department of State may

 revoke visas, which may result in immediate termination of a SEVIS record based on visa

 revocation and the initiation of removal proceedings. (D.E. 32.)

        Then, the day before the scheduled hearing in this matter, Defendants filed the Hicks

 Declaration confirming that Plaintiffs’ records had been “set . . . back to ‘active,’” restoring “all

 previous information” and leaving “no ‘gaps’ or ‘lapses’ in the SEVIS record.” (D.E. 35, Hicks

 Decl. ¶ 3.) Hicks further declared that although “technical limitations of the SEVIS system”

 made notations not viewable by end-users, “[w]hen specifically annotated on a court’s order,

 SEVP adds a notation into the SEVIS record” about retroactive restoration. (Id. ¶ 4.)

        Rather than informing Plaintiffs of why their records were suddenly terminated, Plaintiffs

 had only the notations in the SEVIS records, as communicated to Plaintiffs through Rutgers

 DSOs: a supposed failure to maintain status based on a visa revocation and/or a criminal records

 check. Plaintiffs’ visas were not revoked, so the remaining ground would be the criminal records

 check – but the so-called “criminal records” of Plaintiffs involved incidents that did not meet the

 requirements for termination of status under 8 C.F.R. §§ 214.2(f) and 214.1(d). Defendants do

 not contend otherwise. Indeed, the Watson Declaration admits (as explained below) that a

 criminal records check was the basis for the agencies’ action. Nor is there any argument or

 evidence that Plaintiffs’ circumstances met any of the other bases for termination set forth in the

 regulations that bind then and Defendants.

        Plaintiffs’ supplemental brief cites testimony from ICE’s Assistant Director Andre

 Watson in an April 29 hearing in the District Court for the District of Columbia. There, Watson



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 explained that thousands of SEVIS record terminations were the result of an extremely fast-

 paced “student criminal alien initiative” that involved DHS leadership directing employees to run

 all 1.3 million noncitizen students in this country through the National Crime Information Center

 (“NCIC”) database in a process that ultimately resulted in thousands of revoked visas and SEVIS

 record terminations without any individualized review. (D.E. 28, Pl. Supp. Br., at 21-23; D.E.

 31, Second Lindhorst Decl., Ex. B, Tr. of Oral Argument, Patel v. Lyons, 1:25-cv-1096 (D.C.C.

 Apr. 29, 2025).)

          Plaintiffs have implied that this process was what resulted in their SEVIS record

 terminations, and Defendants confirmed that by way of the Watson Declaration offered on May

 7. 5 Watson describes ICE’s termination of “numerous” SEVIS records beginning in March 2025

 “due to information provided by U.S. Department of State and criminal databases” and the

 subsequent reactivation of those SEVIS records, and states that “ICE has no plans under its new

 SEVIS policy to re-terminate the plaintiff(s) SEVIS record based solely on the NCIC record that

 led to its initial termination.” (D.E. 38, at 3-4, Watson Decl. ¶¶ 4-6 (emphasis added).)

          The end result is that Plaintiffs are likely to succeed on their claim that by relying on

 factors other than the ones allowed by regulation to terminate Plaintiffs’ SEVIS records and,

 consequently, their F-1 status, Defendants have acted contrary to the APA, 5 U.S.C. § 706(2)(A),

 (C), (D), Wilkinson, 131 F.4th at 140 (arbitrariness of agency decision determined by whether

 decisionmaker “considered the appropriate factors and properly justified [the] decision”); and

 Accardi, see Leslie, 611 F.3d at 175-76.




 5
     Watson was the witness who testified at the April 29 District of Columbia hearing.
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          4. Why Defendants’ Privacy Act Argument Does Not Compel a Different Result

          Defendants do not argue the merits of Plaintiffs’ APA claim. They contend Plaintiffs

 cannot invoke the APA at all. The argument goes thus: Plaintiffs are seeking to alter the contents

 of their SEVIS records as they now appear after Defendants’ reactivation or restoration of

 Plaintiffs’ SEVIS accounts. So the APA claim is barred, based on sovereign immunity, because

 the appropriate statute for relief is the Privacy Act of 1974, and the APA’s immunity waiver does

 not extend to cover claims “expressly or impliedly forbid[den]” by “any other statute.” 5 U.S.C.

 § 702.

          Defendants’ initial premise is incorrect because, as Plaintiffs point out, “this case is about

 far more than amending records in a government database.” (D.E. 15, Pls.’ Reply Br., at 5.)

 Plaintiffs have sought a restoration of the F-1 student status that is connected with the SEVIS

 record and they challenge the agency action that deprived them of that status in a way that they

 contend was (and, as discussed above, likely was) arbitrary. They cite their injuries that have

 flowed and continue to flow from this agency decision, which, to be sure, include consequences

 from the residual notations that still appear in their SEVIS records. (See “Old Value” and “New

 Value” fields in the SEVIS records, as excerpted supra.) But even as to those residual notations,

 Plaintiffs’ argument is not simply that the notations must be changed for the sake of an accurate

 record standing alone, but that they must be changed because they reflect continued limitations

 on Plaintiffs’ ex ante status as F-1 students properly maintaining status. (See May 7, 2025 Tr. at

 31:8-12 (“[T]his is not about correcting administrative factual error. This is about substantially

 challenging an agency’s determination that the students have failed to maintain their status.”).)

          Properly framed under the record facts, Plaintiffs’ APA claim is not barred by the

 interplay of the immunity waiver exception in § 702 and the Privacy Act. See Parra Rodriguez



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 v. Noem, No. 3:25-cv-615, 2025 WL 1284722, at *6 (D. Conn. May 1, 2025) (“[Plaintiff’s]

 requested relief is a substantive challenge to Defendants’ decision to terminate her record rather

 than merely correcting the accuracy of that record.”). The Privacy Act was enacted “to protect

 the privacy of individuals identified in federal information systems,” and “addresses the

 government’s retention and disclosure of personal information” while allowing “individuals to

 seek a court order requiring it to correct its records.” Jane Doe 1 v. Bondi, No. 1:25-cv-01998,

 D.E. 43, at *20-21 (N.D. Ga. May 2, 2025) (quoting Dep’t of Ag. Rural Dev. Rural Hous. Serv.

 v. Kirtz, 601 U.S. 42, 63 (2024)). It is “not ‘a vehicle for amending the judgments of federal

 officials as those judgments are reflected in records maintained by federal agencies.’” Liu v.

 Noem, No. 25-cv-133, 2025 WL 1233892, at *8 (D.N.H. Apr. 29, 2025) (quoting Barnett v.

 United States, 195 F. Supp. 3d. 4, 7 (D.D.C. 2016)). Such relief—that substantively challenges

 agency decisions—is properly sought under the APA. Parra Rodriguez, 2025 WL 1284722, at

 *6 (“The right response to error is to correct the disposition under the [APA].” (quoting Douglas

 v. Agric. Stabilization & Conservation Serv., 33 F.3d 784, 785 (7th Cir. 1994))).

        In recent weeks, Defendants’ argument has been unsuccessful in a number of similar

 cases. See Alliance for Retired Americans v. Bessent, __ F. Supp. 3d __, 2025 WL 740401, at

 *19 (D.D.C. Mar. 7, 2025). See, e.g., Parra Rodriguez, 2025 WL 1284722, at *6; Arizona

 Student Doe #1 v. Trump, No. 25-cv-174, 2025 WL 1192826, at *6 (D. Ariz. Apr. 24, 2025); SD

 Student Doe #1, Plaintiff v. Noem, et al., No. 25-cv-926, 2025 WL 1194080, at *5 (S.D. Cal.

 Apr. 24, 2025); Madan B.K. et al., v. Noem, No. 1:25-cv-419, 2025 WL 1171572, at *5 (W.D.

 Mich. Apr. 23, 2025); Chen v. Noem, No. 1:25-cv-00733, 2025 WL 1163653, at *4-5 (S.D. Ind.

 Apr. 21, 2025); Jane Doe 1 v. Bondi, No. 1:25-cv-01998, 2025 WL 1188469, at *4 (N.D. Ga.

 Apr. 18, 2025).



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        In Alliance for Retired Americans v. Bessent, the court interpreted the Supreme Court’s

 decision in Kirtz to conclude that “Congress did not intend for the Privacy Act to be an

 ‘exclusive’ source of claims or remedies for alleged mishandling of records about individuals

 that impliedly forbids other relief under the APA.” __ F. Supp. 3d __, 2025 WL 740401, at *19.

 Kirtz itself cited a “strong presumption” that “federal statutes touching on the same topic . . . can

 coexist harmoniously,” and a there is a “heavy burden” on a party contending that one statute

 (here, the Privacy Act) “displaces” another (here, the APA). Kirtz, 601 U.S. at 63. That burden

 is not met here. See Parra Rodriguez, 2025 WL 1284722, at *6 (“The Supreme Court’s

 reference [in Doe v. Chao, 540 U.S. 614 (2004)] to the Privacy Act incorporating the APA’s

 equitable relief standard of proof supports the inference that the two statutes ‘coexist

 harmoniously’ rather than conflict. . . . Defendants have not met the ‘heavy burden’ of showing

 that the Privacy Act displaces the APA.”).

        This conclusion is also in line with the decisions of courts noting that the Privacy Act

 does not provide relief to individuals in Plaintiffs’ circumstances. See Liu, 2025 WL 1233892, at

 *8; Jane Doe 1, No. 1:25-cv-01998, D.E. 43, at 20-21. Notwithstanding that Plaintiffs are not

 considered “individuals” that can bring suit under the Privacy Act, 5 U.S.C. § 552a(a)(2), courts

 have found that similarly situated plaintiffs’ APA claims do not seek “to correct a factual error in

 [their] SEVIS record[s] such that [their] claim[s] could potentially implicate the Privacy Act.”

 Liu, 2025 WL 1233892, at *8. Rather, they are “based on the allegation that [the] SEVIS record

 accurately reflects that DHS unlawfully terminated [their] F-1 student status.” Id. “In other

 words, it is DHS’s termination of . . . F-1 student status, as that action is manifested in the SEVIS

 database” that is challenged, which makes the Privacy Act “irrelevant” to Plaintiffs’ claims. Id.;

 see Jane Doe 1, No. 1:25-cv-01998, D.E. 43, at 21 (plaintiffs’ “allegations challenging DHS’s



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 action go well beyond seeking to correct a record that is ‘inaccurate, irrelevant, untimely or

 incomplete.’ Plaintiffs are instead challenging the decision that led to the unlawful termination

 of their SEVIS records.” (quoting 5 U.S.C. § 552a(d)(2)(B))). The Court is satisfied that

 Defendants’ Privacy Act argument fails.

        B. Whether Plaintiffs will be Irreparably Harmed Absent an Injunction

        The harm supporting this second gateway factor must be “more likely than not” to occur

 absent an injunction, Reilly, 858 F.2d at 179, and that is the case here. By the time of the May 7

 hearing, the parties’ harm arguments focused on the effects of the facts as they then appeared:

 Plaintiffs’ SEVIS records had been restored with retroactive effect, but the records continued to

 reflect a prior termination based on a criminal records check and/or revoked visa. Notations

 about retroactivity were made, but only viewable by SEVP users and no others, including

 Plaintiffs’ DSOs.

        Defendants took the position that “there is no need to extend the current restraints”

 because Plaintiffs “have not met their burden of establishing continuing irreparable harm” (May

 7, 2025 Hearing Tr. at 42:4-7), and the Watson Declaration claimed that “ICE has no plans under

 its new SEVIS policy to re-terminate the plaintiff(s) SEVIS record based solely on the NCIC

 record that led to its initial termination” (D.E. 38, at 3-4, Watson Decl. ¶ 6).

        Plaintiffs countered that this representation was “unsatisfying” and “not very

 comforting,” and that even accepting arguendo, and without having yet had the opportunity to

 cross-examine Hicks’ representation about the immutability of the records’ event history or

 otherwise probe the system’s technological capabilities, the “single most significant harm” was

 one they are continuing to face: their SEVIS records still identify them as having been

 terminated based on identification in a criminal records check. (May 7, 2025 Hearing Tr. at



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 28:3-5, 21:18-21, 22:3-6.) This, despite their involvement in the criminal justice system in no

 way qualifying for termination of their SEVIS status.

        Moreover, Plaintiffs pointed out that the “end users” without access to the SEVIS record

 notations about the retroactivity of the restoration could include “other agencies within the

 Department of Homeland Security,” such as USCIS and Customs and Border Protection

 (“CBP”), along with the Department of State, and further, that there had been no representation

 that the restoration would be communicated to such other of these entities that rely on SEVIS

 record information. (Id. at 24:13-26:2.) Persuasively, Plaintiffs’ attorney put it thus:

        But these plaintiffs who are in a situation where their activities are closely
        scrutinized and carefully regulated and who will be in a position where they may
        have to exist and enter the country, whether they have to get other jobs, where
        they will, in some cases, seek other types of visas such as H visas, which would
        permit them to work, they will have on their record – and the government is
        refusing to delete, essentially, the most damaging piece of information. . . . [W]e
        know for sure that SEVIS records are looked at by government entities that are
        involved in determining our clients’ immigration status, including the validity of
        their visas. And that, at the end of the day, is what’s most critical for us. The
        idea that some of the notations are only inward facing and not outward facing is
        also troubling because we have clients who want to apply for jobs. And if
        someone gets ahold of the SEVIS record it’s going to show criminality where
        that’s not correct.

 (May 7, 2025 Hearing Tr. at 22:16-23, 23:21-24:1-5.) The Goss Declaration supplies the context

 for these concerns (D.E. 29, Goss Decl. ¶ 10, noting the “multiple U.S. departmental and agency

 touchpoints” involved in F-1 student status): changes of status plus international travel require a

 new visa for entry, which involves the Department of State. Derogatory information in SEVIS

 records, such as a prior termination based on a criminal records check or visa revocation, will

 likely trigger scrutiny by CBP on a person’s arrival at a port of entry, and the information can be

 accessed by other agencies as well, and, according to Goss, “[t]here is every reason to believe” it

 will cause Plaintiffs to be flagged in future dealings with them given the nature of what was



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 reported. Plaintiffs’ gap in employment and academic attendance during termination puts them

 on a path toward ineligibility for OPT. A “failure to maintain status” notation can make it

 “difficult or impossible” to later get a green card. (Id. ¶¶ 9, 14, 21, 23.) Plaintiffs’ declarations

 show how the interaction of these “touchpoints” and the remaining record notations are brought

 to bear specifically on them, in ways are ongoing and cannot be fixed at the end of the case. 6

        The negative impact of the remaining notations in Plaintiffs’ record is exacerbated by the

 extraordinary way in which they came about, as attested to by Goss, who “know[s] of no prior

 situation in which SEVP terminated a SEVIS record based on any interaction with law

 enforcement.” (D.E. 29, Goss Decl. ¶ 13; see also id. ¶ 15.) Previously, SEVP would notify the

 DSO, who in turn would make the determination whether to terminate; “in the rare instance

 where HSI may ask a DSO to terminate, the DSO would not if upon further review there was no

 violation.” (Id. ¶ 13.) In contrast, the events here, where ICE “forced [the] record termination”

 of not just one record, but hundreds, was “unprecedented,” and how it did that—by acting “in

 place of a DSO, using the termination dropdown menu available to DSOs” and based on grounds




 6
   (See D.E. 30, (“Doe #1 Second Decl.”) ¶¶ 8, 13 (student is concerned that USCIS will deny
 upcoming OPT extension request and that their current OPT employer will deem it “too
 uncertain and risky” to continue their employment due to the notations); D.E. 30-1, (“Doe #2
 Second Decl.”) ¶ 7 (student is “extremely fearful” CBP will deny re-entry “now that my SEVIS
 record has a termination period with a notation that I have a criminal record”); D.E. 30-2, (“Doe
 #3 Second Decl.”) ¶¶ 14, 16 (student is concerned they will be denied re-entry, a student visa, or
 OPT because of the notations); D.E. 30-3, (“Doe #4 Second Decl.”) ¶¶ 7, 9 (student has not
 returned to crucial lab work and was told not to attend class while their record was terminated,
 now must repeat onboarding and is unsure if they will be able to defend their thesis in August
 2025); D.E. 30-4, (“Doe #5 Second Decl.”) ¶¶ 9-10 (student is “fearful of exiting and re-entering
 the United States,” anticipating problems re-entering the country); D.E. 30-5, (“Doe #6 Second
 Decl.”) ¶¶ 12-14 (student is uncertain whether OPT or CPT or access to jobs in field will be
 available “now that I have a termination in my record, especially since it notes that I was
 identified in a criminal records check”; lacks clarity about whether period of termination
 constituted an “illegal stay”; concerned about risk of detention that inhibits even domestic
 travel).)
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 that are not available for it to use under the applicable regulations, represented a “significant shift

 in behavior.” (Id. ¶¶ 16-17.) The unusual nature of this action appears to have prompted a

 targeting of certain individuals, as suggested by Student Doe #3’s statements that, “[w]hen the

 news broke about international students’ SEVIS records being terminated,” the reactions caused

 plaintiff to be “very afraid for my safety” and take steps toward monitoring the home;

 additionally on a social media platform, plaintiff was “specifically called . . . out” as having been

 terminated, prompting “hundreds of comments [on the post], some of which were quite hostile.”

 (D.E. 30-2, Student Doe #3 Second Decl. ¶¶ 7-8.)

        Defendants’ submissions fail to undercut the record of ongoing and irreparable harm that

 Plaintiffs have marshaled. The Young Declaration, which Defendants filed after the hearing,

 addresses only one “touchpoint”—USCIS—and wavers on the one potentially relevant assurance

 to the harms Plaintiffs have cited—that USCIS would not “per se” consider a prior SEVIS record

 termination/reactivation negatively in adjudicating “an immigration benefit request.” (D.E. 38,

 at 6-7, Young Decl. ¶ 11.) There is tension between the Watson and Hicks Declarations as to

 what can and cannot be done by way of putting notations into a SEVIS record, 7 but even

 assuming notations can be made, there is nothing showing that other users outside SEVP, such as

 the agencies and other governmental entities discussed above, are made aware of them or are

 bound to that updated, accurate version of events.

        Defendants’ briefed arguments fare no better. Plaintiffs’ harm is neither speculative nor

 limited to the potential of removal. Nor is it merely monetary harm, which in any event



 7
   Compare D.E. 35, Hicks Decl. ¶ 4 (when “specifically annotated on a court’s order, SEVP adds
 a notation . . . indicating that the record has been restored retroactively to the original date of
 termination”) with D.E. 38, at 3-4, Watson Decl. ¶ 7 (“ICE’s reactivation . . . is being made
 retroactive to the date of its initial termination such that there is no gap in the plaintiff(s)’ SEVIS
 record.”).
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 Plaintiffs have argued is neither sufficient nor available in this action. The approximately 20

 days that Plaintiffs’ SEVIS records were terminated disrupted their academic studies and ability

 to successfully complete their PhD degrees, and the fallout from those repercussions continues. 8

 Moreover, the “loss of timely academic progress alone” has been held to be sufficient irreparable

 harm,” Jane Doe 1, No. 1:25-cv-01998, D.E. 43, at 26, as has Plaintiffs’ “anxiety and fear, as

 well as the disruption that detention and deportation pose to their personal, academic, and

 professional pursuits constitute irreparable harm,” Du v. United States Dep’t of Homeland Sec.,

 No. 3:25-cv-644, 2025 WL 1220254, at *4 (D. Conn. Apr. 28, 2025), concerns expressed

 consistently in these Plaintiffs’ submissions. 9

        C. Whether the Harm to Defendants from an Injunction is Greater than the Harm
           to Plaintiffs Without One, and Whether the Public Interest Favors Granting
           Injunctive Relief

        As noted earlier, the third and fourth factors merge where the government is the opposing

 party. Nken, 556 U.S. at 435. These factors, in substance, “consider the ramifications of the

 injunction”—whether the opponent would be more harmed by the granting of the injunction than

 the movants would be harmed by denying it, and whether granting the injunction “would serve




 8
   (See D.E. 30, Doe #1 Second Decl. ¶¶ 14-15 (cannot plan for the future, despondent, “red flag”
 to employers if program is not completed), D.E. 30-1, Doe #2 Second Decl. ¶¶ 5-6 (inability to
 go to lab for 24 days “severely impacted” cancer research, which involves time-sensitive work
 with mice that was entirely lost); D.E. 30-2, Doe #3 Second Decl. ¶ 13 (“couldn’t get on the
 waitlist to be a Teaching Assistant for next fall because waitlist selection happened during status
 termination,” with professional and financial consequences); D.E. 30-3, Doe #4 Second Decl.
 ¶¶ 6-11 (lost experiment and must repeat onboarding process; “great financial burden”); D.E. 30-
 5, Doe #6 Second Decl. ¶ 12 (working with power systems requires background checks and
 current notations incorrectly imply a criminal record).)
 9
  The Court notes too that these Plaintiffs, for all that they are far from home, belong to a
 community that appeared at the May 7 hearing in support of them.
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 the public interest.” Amalgamated Transit Union Loc. 85 v. Port Auth. of Allegheny Cnty., 39

 F.4th 95, 108 (3d Cir. 2022) (cleaned up).

        Plaintiffs have amply established the harm that they continue to risk absent an injunction.

 Defendants have cited separation-of-powers concerns with respect to the administration and

 enforcement of the immigration laws, and cite the Third Circuit’s call for “caution” in applying

 these two injunctive relief factors when separation-of-powers and federalism concerns are in

 play. Del. Sportsmen’s Ass’n, 108 F.4th 205. See also id. (“Courts rightly hesitate to interfere

 with exercises of executive or legislative authority.”). But “caution” and “hesitation” do not

 equate to a bar on judicial review or the Court’s exercise of its equitable powers, and here

 Defendants cannot claim qualifying harm from an injunction that would restrain them from

 carrying out action in violation of the APA, particularly where they have already changed course.

 Indeed, the Watson Declaration represents that Defendants are no longer relying on their

 initiative that led to the initial terminations, so they cannot now argue that they would be harmed

 if they could not continue such a policy. (D.E. 38, at 3-4, Watson Decl. ¶ 6.)

        Moreover, the public interest favors compliance with the applicable law. See Student

 Doe #1, No. 2:25-cv-2825, D.E. 13, at *6 (“This calculable harm to Plaintiff strongly outweighs

 any potential harm that may come to Defendant, considering there is no apparent reason why

 Plaintiff is undeserving of the fruits of their years-long efforts.”); League of Women Voters of

 U.S. v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (“[T]here is generally no public interest in the

 perpetuation of unlawful agency action. . . . To the contrary, there is a substantial public interest

 in having governmental agencies abide by the federal laws that govern their existence and

 operations.”). On balance, the harm to Plaintiffs absent injunctive relief considerably outweighs




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 Defendants’ harm, if any, in being restrained from imposing further consequences based on their

 prior, likely unlawful action or seeking to do so again without notice to Plaintiffs.

        As a practical matter, when a movant establishes the first two elements—likelihood of

 success and irreparable injury—“it almost always will be the case that the public interest will

 favor the [movant].” Amalgamated, 39 F.4th at 109 (quoting Am. Tel. & Tel. Co. v. Winback &

 Conserve Program, Inc., 42 F.3d 1421, 1427 n.8 (3d Cir. 1994)). That is in fact the case here.

        D. Scope of the Relief

        The question remains what relief on an interim basis is appropriate. Plaintiffs’ proposal

 is that the Court direct Defendants to excise the offending language from the SEVIS record as a

 matter of preliminary relief. (D.E. 23 ¶ 2.) The Hicks Declaration claims that “technical

 limitations of the SEVIS system” preclude the deletion of “the event history for a given record”

 from the system, although “[w]hen specifically annotated on a court’s order, SEVP adds a

 notation into the SEVIS record, indicating that the record has been restored retroactively to the

 original date of the termination.” (D.E. 35, Hicks Decl. ¶¶ 3-4.) Again, however, those

 notations “are not viewable by end-users outside of SEVP, such as [DSOs],” again due to

 purported “technical limitations.” (Id. ¶ 4.) The Watson Declaration asserts that “ICE’s

 reactivation of the plaintiff(s) SEVIS record is being made retroactive to the date of its initial

 termination such that there is no gap in the plaintiff(s)’ SEVIS record,” and that for plaintiffs

 engaged in OPT for whom “SEVP also edited the SEVIS record to change the OPT employment

 authorization end date, the record has been reset to the end date set forth in the [plaintiff’s]

 SEVIS record before its termination.” (D.E. 38, at 3-4, Watson Decl. ¶¶ 7, 8.) These sworn

 statements, read together, suggest that some changes can be made to Plaintiffs’ SEVIS records,




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 but perhaps not to the extent that would fully restore Plaintiffs to the status quo ex ante—but also

 that when courts so order, Defendants may in fact be able to make those changes.

        The affiants did not testify and therefore were not subject to further examination that may

 have explored the bounds of Defendants’ capabilities. The parties have not yet engaged in

 discovery. Therefore, the Court does not have enough information to direct Defendants to make

 specific changes. The Court does not have the benefit of a factual record establishing that such

 an order would in fact provide Plaintiffs with assurance that all persons or entities in a position to

 make decisions based on the information in the SEVIS record—such as other governmental

 agencies, DSOs, or employers—would be able to view the proper fields.

        It is, however, appropriate to require Defendants to do what they have already

 represented they can do: “add[] a notation into the SEVIS record, indicating that the record has

 been restored retroactively to the original date of the termination.” (D.E. 35, Hicks Decl. ¶ 4.)

        It is also appropriate, and indeed necessary to the Court’s “ability to see the case

 through,” for Defendants and all others covered by the scope of a Rule 65 preliminary injunction

 to be restrained from imposing any consequences on Plaintiffs as a result of Defendants’ prior

 termination decision that likely violated the APA—and that includes any consequences that flow

 from the residual notations connected to that termination decision.

        Further, there is enough in this record to suggest that Defendants’ impending policy

 change may affect and exacerbate the above harms, such that further restraints are necessary.

 See B K v. Noem, No. 1:25-cv-419, 2025 WL 1318417, at *10-11 (W.D. Mich. May 7, 2025)

 (finding “Defendants have not borne their burden of demonstrating that the challenged conduct

 could not reasonably be expected to recur”). The challenged conduct here is ill-considered,

 indiscriminate, and likely unlawful use by Defendants of statistical, generalized information



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 from an outside source, NCIC. Plaintiffs assert that the challenged conduct is likely to recur

 (D.E. 28, Pl. Supp. Br., at 20), and Defendants’ efforts in the Watson Declaration, and now in the

 Young Declaration, do not rebut the concern that a sister agency may act to Plaintiffs’ detriment.

 The DHS organizational chart from November 2023 that Defendants have produced (D.E. 38, at

 5-7) bears this out. Representations by Watson and Young likewise demonstrate their

 interlocked functions and support restraints that offer Plaintiffs an avenue for recourse to the

 Courts if further action affecting their status arises.

         E. Security under Fed. R. Civ. P. 65(c)

         On the granting of temporary or preliminary injunctive relief, the movant must generally

 provide security “in an amount that the court considers proper to pay the costs and damages

 sustained by any party found to have been wrongfully enjoined or restrained.” Fed. R. Civ. P.

 65(c). There are “rare” exceptions to this “almost mandatory” requirement, Boynes v. Limetree

 Bay Ventures LLC, 110 F.4th 539, 611 (3d Cir. 2024) (quoting Frank’s GMC Truck Ctr., Inc. v.

 Gen. Motors Corp., 847 F.2d 100, 103 (3d Cir. 1988)), and even the exceptions are

 “exceptionally narrow” and limited to scenarios in which “the nature of the action necessarily

 precludes any monetary harm to the defendant,” Zambelli Fireworks Mfg. Co. v. Wood, 592 F.3d

 412, 426 (3d Cir. 2010). The purposes animating the bond requirement explain the narrowness

 of the exceptions: the bond is meant to be a “fund to compensate Defendants” who later turn out

 to have been wrongfully enjoined and, because the Plaintiffs can lose it in such scenario, being

 required to post that amount “force[s] [them] to think carefully before accepting interlocutory

 relief.” Limetree, 110 F.4th at 611 (cleaned up).

         The record here reflects the “exceptionally narrow circumstances” appropriate for bond

 waiver. In Temple Univ. v. White, 941 F.2d 201, 219-20 (3d Cir. 1991), the Third Circuit



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 recognized an exception based on the hardship a bond would impose on the applicant and the

 absence of harm to the restrained party, plus the public interest nature of the litigation; that is,

 that the movant was seeking to “enforce important federal rights.” Id. at 219-20. That scenario

 exists here. Plaintiffs, whose declarations describe their modest means and circumstances even

 before the recent events, experienced financial consequences from the actions they challenge in

 this suit seeking to “enforce important federal rights.” Conversely, there is no indication in the

 record that the ordered restraints pose any risk of monetary loss to the government. Cf. Frank’s

 GMC Truck Ctr., 847 F.2d at 103 (“We have held previously that absent circumstances where

 there is no risk of monetary loss to the defendant, the failure of a district court to require a

 successful applicant to post a bond constitutes reversible error.”). 10 The Court therefore will not

 require Plaintiffs to post security under Fed. R. Civ. P. 65(c).

 V.      Conclusion
         For the foregoing reasons, Plaintiffs’ motion is GRANTED. IT IS THEREFORE

 ORDERED that until final judgment is entered in this case, Defendants, their officers, agents,

 servants, employees, attorneys, and any other persons who are in active concert or participation

 with the foregoing:

      1. Shall not directly or indirectly enforce, implement, or otherwise impose any

         consequences arising out of Defendants’ prior decision to terminate Plaintiffs’ SEVIS

         records or F-1 status.




 10
  Defendants’ request that the Court order Plaintiffs to post security cites a Presidential
 memorandum directing agencies to do so under Rule 65(c). (D.E. 27, Gov’t Opp., at 30.) That
 memorandum reflects existing law on the posting of injunction bonds.
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    2. Shall not terminate these Plaintiffs’ SEVIS records or F-1 status without providing at

       least 20 days’ notice to Plaintiffs and their counsel so that they may make any appropriate

       application to the Court.

    3. Shall restore Plaintiffs’ SEVIS records retroactive to the original date of termination and

       file a notice of compliance no later than May 16, 2025.



 SO ORDERED this 8th day of May, 2025.



                                                             s/Katharine S. Hayden
                                                             Katharine S. Hayden, U.S.D.J.




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